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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

DESHONE DONALD,

      Plaintiff,

v.                                              Case No.: 4:22cv23-MW/MJF

KEVIN CARROLL, et al.,

     Defendants.
___________________________/

                        ORDER ACCEPTING AND ADOPTING
                         REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 10. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation, ECF No. 10, is accepted and adopted as

this Court’s opinion. The Clerk shall enter judgment stating, “Plaintiff’s claims are

DISMISSED without prejudice for Plaintiff’s failure to comply with orders of this

Court.” The Clerk shall close the file.

      SO ORDERED on July 8, 2022.

                                          s/Mark E. Walker                   ____
                                          Chief United States District Judge
